               Case 6:18-bk-06437-KSJ       Doc 160     Filed 10/31/19    Page 1 of 1



                                        ORDERED.


         Dated: October 31, 2019




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION
                                   www.flmb.uscourts.gov

In re:

JAMES S. PENDERGRAFT, IV,                                    Case No. 6:18-bk-06437-KSJ
                                                             Chapter 7
      Debtor.
______________________________/

                          ORDER GRANTING MOTION FOR
                    TURNOVER OF PROPERTY OF DEBTOR (DOC. 146)

          THIS CASE came on for consideration without hearing, of the Trustee’s Motion for

Turnover of Property of the Debtor (the “Motion”) (Doc. 146) filed pursuant to the negative notice

provisions of Local Rule 2002-4. The Court, considering the Motion and the absence of any record

objection to the relief requested in the Motion by any party in interest, deems the Motion to be

uncontested. Accordingly, it is:

          ORDERED:

          1.     The Motion is GRANTED.

          2.     The debtor is directed to turn over the excess of allowed exemptions in the amount

of $11,744.18 to the Trustee within five days of entry of this order.


Attorney Michael A. Nardella is directed to serve a copy of this order on interested parties who
are non-CM/ECF users and to file a proof of service within three days of entry of this order.
